Case 3:19-mj-01755-MDM Document 3 Filed 09/23/19 Page 1 of 2

AO 93 (Rev. 12/09) Search and Seizure Warrant

 

UNITED STATES DISTRICT;GOURT py |: 4.5
for the
District of Puerto Rico

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

Case No. \9 = 7 SD Cu

One USPS Priority Mail parcel with mailing label affixed
to it bearing tracking # 9505510332599238190940

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Judicial District of Puerto Rico
(identify the person or describe the property to be searched and give its location): Wo

- See
One USPS Priority Mail parcel with mailing label affixed to it bearing tracking # 9505510332599238190940 sate ch. 4

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
Controlled substances, materials and documents reflecting the distribution of controlled substances through the U.S.
Mails, including money and/or monetary instruments consisting of payment and/or proceeds relative to the distribution
of controlled substances. -Sre 4Hrchmar

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

property. q hq liq

(not to exceed 14 days)
H in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as I find reasonable cause has been
established.

YOU ARE COMMANDED to execute this warrant on or before

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty

 

(namie)

( I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (cheek the appropriate box) O for days (not to exceed 30).

(1 until, the facts justifying, the later specific date of
SEP 03 27019

beh A f) 4 ~
Date and time issued: ‘

San Juan, Puerto Rico s/Marshal Be Morgan
U.S. Magistfate udge

Printed name _apé title

City and state:

 
Case 3:19-mj-01755-MDM Document 3 Filed 09/23/19 Page 2 of 2

AQ 93 (Rey. 12/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

| G- 175510 q, [s fao'4 11:50 U.S.P.1.S. San Juan Field Office

 

 

Inventory made in the presence of : ih dos ‘Maced ine ( USP / s)
ee 4

 

Inventory of the property taken and name of any person(s) seized.
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Qubstance PreSamed +o Conta.

en tany I.

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

LA OE KU

\ executing officer's signature

L.F. Polanco U.S. Postal Inspector

 

Printed name and title

 

 
